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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION

 UNITED STATES                                                        PLAINTIFF/RESPONDENT


        V.                               No. 2:13-CV-02044
                                         No. 2:11-CR-20043

 JAIME ACEVES-MARTINES                                               DEFENDANT/PETITIONER

              MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

        Before the court is the Petitioner's Motion for Leave to File a new 2255 motion(ECF No.

 109) filed April 14, 2014. The United States of America filed a Response (ECF No. 109 ) on

 April 21, 2014. The Petitioner has not filed a Reply and the matter is ready for Report and

 Recommendation.

                                           I. Background

        On August 10, 2011, Jaime Aceves-Martinez (“Aceves-Martinez”) was named in six

 counts of an eight-count Indictment charging him with (1) conspiracy to distribute more than 50

 grams of methamphetamine, (4) possessing with intent to distribute more than 50 grams of

 methamphetamine, (5) being a felon in possession, (6) being an illegal alien in possession of a

 firearm, (7) carrying and using a firearm in the furtherance of a drug trafficking crime, and for (8)

 illegal reentry after removal. (ECF No. 1).

        On December 5, 2011, Aceves-Martinez appeared with counsel, Joseph Self, for a change

 of plea hearing before the Honorable P. K. Holmes, III. (ECF No. 44). A written Plea Agreement

 was presented wherein Aceves-Martinez would plead guilty to Counts 1 and 7 of the Indictment.

 (ECF No. 45). Additionally, the Plea Agreement set forth that Aceves-Martinez was subject to a

 maximum 40 years imprisonment and to a term of supervised release of at least 4 years as to
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 Count 1 and subject to a maximum of life imprisonment and to a term of supervised release of at

 least 3 years as to Count 7. (ECF No. 45 ¶ 11). The Court reviewed the Plea Agreement with

 Aceves-Martinez ensuring there was nothing contained in the Plea Agreement that he had not

 agreed to and reviewed the penalties he faced. (ECF No. 98 , pp. 5 - 8). A factual basis was set

 forth to which Aceves-Martinez agreed and, after finding Aceves-Martinez’s plea to be

 voluntary, the Court tentatively approved the plea agreement pending completion of a

 Presentence Investigation Report (“PSR”). (ECF No. 98 , pp. 11 - 14).

        On January 3, 2012, the U.S. Probation Office prepared Aceves-Martinez’s initial

 Presentence Investigation Report (“PSR”). The United States offered no objections. However, on

 January 20, 2012, Aceves-Martinez offered two objections, objecting to his base offense level of

 34 contained in paragraph 33 and objecting to the finding in paragraph 37 that there was

 substantial risk of death or serious bodily injury when he was apprehended. Probation disagreed

 with each of Aceves-Martinez’s objections and issued his PSR on January 24, 2012. (ECF No.

 65).

        On January 3, 2012, the U.S. Probation Office prepared Aceves-Martinez’s initial

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 substantial risk of death or serious bodily injury when he was apprehended. Probation disagreed

 with each of Aceves-Martinez’s objections and issued his PSR on January 24, 2012. (ECF No.

 65). category of IV, Aceves-Martinez’s guideline range for imprisonment was 235 - 293 months.

 (PSR ¶ 73).

        On March 6, 2012, Aceves-Martinez appeared for sentencing. (ECF No. 64). The Court
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 sentenced Aceves-Martinez to 188 months imprisonment on Count 1 and 60 months on Count 7

 (running consecutively), 4 years supervised release on Counts 1 and 7 (to run concurrent), and

 $100 special assessment. (ECF No. 71). Counts 4, 5, 6, and 8 were dismissed on motion of the

 United States. Aceves-Martinez did not appeal his conviction even though he was advised of his

 right to do so. (ECF No. 99, p. 37).

         On February 12, 2013, Aceves-Martinez filed a Motion Under 28 U.S.C. § 2255

 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (the “§ 2255 Motion”).

 (ECF No. 95). On April 23, 2014 a Report and Recommendation (ECF No. 103) was filed

 discussing each of the Petitioner's claims and finding no merit to his claims. The court adopted

 the Report and Recommendation and dismissed the motion on September 13, 2013. (ECF No.

 107).

         On April 14, 2014, Aceves-Martinez filed the current Motion to submit a new 2255

 motion (ECF No. 108) contending:

         1. Due Process was violated because the Defendant was "questioned and interrogated

 without an attorney present" (Id., p. 4);

         2. The Defendant was not advised of his right to consular access (Id.);

         3. The Defendant was not advised of his rights in Spanish (Id., p. 5); and

         4. The Plea Agreement was not knowingly and voluntarily made because of the

 Defendant's limited English. (Id., pp. 8-10).

                                             II. Discussion

 A. Successive Petition:

         A second or successive motion must be certified as provided in section 2244 by a panel of

 the appropriate court of appeals to contain–
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        (1) newly discovered evidence that, if proven and viewed in light of the evidence as a
        whole, would be sufficient to establish by clear and convincing evidence that no
        reasonable factfinder would have found the movant guilty of the offense; or

        (2) a new rule of constitutional law, made retroactive to cases on collateral review by the
        Supreme Court, that was previously unavailable. 28 U.S.C.A. § 2255(h).

        Under AEDPA, federal prisoners may not file “second or successive” § 2255 motions

 without an appropriate certification from the circuit court. See 28 U.S.C. §§ 2255, 2244(b). The

 rule is absolute. Prisoners may not evade the statutory requirement by simply filing a second or

 successive § 2255 motion in the district court. Boykin v. United States, 242 F.3d 373 (8th

 Cir.2000). A court must dismiss for lack of subject matter jurisdiction any successive petition

 that is filed without the Eighth Circuit Court of Appeals's permission. See Boykin v. United

 States, 242 F.3d 373, 2000 WL 1610732, at *1 (8th Cir. Oct. 30, 2000) (unpublished decision);

 United States v. Bailey, 514 Fed. App'x 835, 836 (11th Cir.2013) (noting that “[a] prisoner may

 not ... file a second or successive petition under § 2255 unless and until we grant certification.

 Absent such permission, the district court lacks jurisdiction to address the petition and must

 dismiss it.”) (citations omitted); Nunez v. United States, 96 F .3d 990, 991 (7th Cir.1996)

 (instructing that “[a] district court must dismiss a second or successive petition, without awaiting

 any response from the government, unless the court of appeals has given approval for its filing.”)

 (emphasis in original); see also United States v. Davis, 524 Fed. App'x 389, 390 (10th Cir.2013)

 (noting that “[a] prisoner may not file a second-or-successive § 2255 motion unless he first

 obtains an order from the circuit court authorizing the district court to consider the motion.”).

        In this case, Aceves-Martinez’s § 2255 Motion is a “second or successive” ' 2255 motion

 as he has previously filed a motion pursuant to §2255 (Docs. 95 & 101) which the Court

 ultimately denied on September 13, 2013 (Doc. 107). As such, this Court has no jurisdiction to
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 consider Aceves-Martinez’s Motion absent an appropriate certification from the Eighth Circuit

 Court of Appeals. 28 U.S.C. § 2244(b)(3)(A).

 B. Statute of Limitations:

        In addition the Petitioner’s claims which were not previously asserted in his prior section

 2255 motions are barred by the Statute of Limitations. A one-year period of limitation applies to

 motions under 28 U.S.C. § 2255. This period runs from the latest of: "(1) the date on which the

 judgment of conviction becomes final; (2) the date on which the impediment to making a motion

 created by governmental action in violation of the Constitution or laws of the United States is

 removed, if the movant was prevented from making a motion by such governmental action; (3)

 the date on which the right asserted was initially recognized by the Supreme Court, if that right

 has been newly recognized by the Supreme Court and made retroactively applicable to cases on

 collateral review; or (4) the date on which the facts supporting the claim or claims presented

 could have been discovered through the exercise of due diligence." 28 U.S.C. § 2255.

        Judgement was entered on March 8, 2012 (ECF No. 71) and no appeal was taken by the

 Defendant therefore judgment became final on March 18, 2012. The Defendant filed his initial

 2255 motion on February 12, 2013 (ECF No. 95) which was denied on September 13, 2013.

 (ECF No. 107). The Defendant filed the current 2255 motion on April 14, 2014 which is well

 beyond the time and is defaulted unless the Defendant can claim Equitable Tolling.

        A prisoner whose petition is belatedly filed may take advantage of equitable tolling where

 extraordinary circumstances beyond his control make it impossible for him to file a petition on

 time or when the action of the respondent lulled him into inaction. Jihad v. Hvass, 267 F.3d 803,

 805 (8thCir. 2001). In general, neither a plaintiff's unfamiliarity with the legal process nor his

 lack of representation during the applicable filing period merits equitable tolling. Turner v.
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 Johnson, 177F.3d 390, 392 (5th Cir. 1999). See Cross-Bey v. Gammon, 322 F.3d 1012, 1015-16

 (8th Cir. 2003); Kreutzer v. Bowersox, 231 F.3d 460, 463 (8th Cir. 2000, cert. denied, 534 U.S.

 863 (2001) (equitable tolling not warranted in case of unrepresented prisoner alleging lack of

 legal knowledge or legal resources). In addition "[i]neffective assistance of counsel generally

 does not warrant equitable tolling." Beery v. Ault, 312 F.3d 948, 950 (8th Cir.2002). The

 Petitioner has not asserted any such grounds as the basis for his failure to timely file the current

 petition and all of the issues the Defendant raises in his second 2255 motion were know to him at

 the time he entered his plea.

                                           III. Conclusion

        Based upon the forgoing I recommend that the instant motion for Leave to file a new

 2255 motion be DENIED.

        The parties have fourteen days from receipt of this report and recommendation in

 which to file written objections pursuant to 28 U.S.C. Section 636(b)(1). The failure to file

 timely written objections may result in waiver of the right to appeal questions of fact. The

 parties are reminded that objections must be both timely and specific to trigger de novo

 review by the district court.


        DATED June 30, 2014.




                                                /s/ J. Marschewski
                                                HONORABLE JAMES R. MARSCHEWSKI
                                                CHIEF UNITED STATES MAGISTRATE JUDGE
